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                             UNTIED STATES DISTRICT COURT
                             WESTERN DISTRICT OF LOUISIANA
                             LAFAYETTE-OPELOUSAS DIVISION

 LEAM DRILLING SYSTEMS, INC.      *     CIVIL ACTION NO. 6:10-cv-01698
 and LIBERTY MUTUAL               *
 INSURANCE COMPANY                *
                                  *
 VERSUS                           *     JUDGE DOHERTY
                                  *
 PETROHAWK ENERGY                 *
 CORPORATION and CHUBB            *     MAGISTRATE JUDGE HILL
 & SON, A DIVISION OF FEDERAL     *
 INSURANCE COMPANY                *
 *************************************************************************

  REPLY MEMORANDUM OF PETROHAWK ENERGY CORPORATION AND
    FEDERAL INSURANCE COMPANY IN SUPPORT OF DEFENDANT’S
     MOTION TO DISMISS OR, ALTERNATIVELY, MOTION TO STAY

 MAY IT PLEASE THE COURT:

        Federal Insurance Company (“Federal”), on behalf of its insured, Petrohawk Energy

 Corporation (“Petrohawk”), submits this memorandum in support of its Motion to Dismiss

 or Alternatively, Motion to Stay (R. Doc. 20) and to respond to the opposition memorandum

 filed by Liberty Mutual Insurance Company (“Liberty Mutual”) (R.Doc. 31). Pursuant to

 well-established jurisprudence, this Court should decline to exercise its discretionary

 jurisdiction over this declaratory judgment action. The same state law issues concerning the

 interpretation of a Master Service Contract presented in this case are presently pending

 before a competent state court in a jurisdiction contemplated by and agreed to by the parties

 in the contract at issue.
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        1.     Leam Does Not Oppose Dismissal of Declaratory Judgment Action.

        Leam Drilling Systems, Inc. (“Leam”) and Petrohawk entered into a Master Service

 Contract in 2007, which contract is the subject of the present suit and the third party demand

 in the pending Texas state court suit. In that contract, Leam and Petrohawk contemplated

 and agreed to certain defense and indemnity provisions. The parties also contemplated and

 agreed that the Contract would be governed, construed, and enforced in accordance with

 Texas law. Further, in the Contract’s arbitration clause, Leam and Petrohawk contemplated

 that any disputes would be brought in a Texas venue. At this stage in the litigation, neither

 of the parties to the contract assert otherwise. Notably, the true party in interest, Leam,

 submits no opposition to defendant’s Motion to Dismiss/Stay and seeks its removal from this

 declaratory judgment action. (See Liberty Mutual’s Motion for Leave to File Second

 Amended Complaint, R. Doc. 30).

        Instead, Liberty Mutual, as Leam’s insurer, takes a position contrary to and in direct

 conflict with the best interests and wishes of its insured. Liberty Mutual is not a party to the

 Master Service Contract. Liberty Mutual does not seek to ask this Court to determine its

 rights and obligations under the Contract.    Therefore, the insurer has no standing to argue

 issues related to the interpretation and validity of the Contract.

        2.     Liberty Mutual’s Arguments are Unavailing at Defeating this Motion.

        Liberty Mutual’s arguments in opposition to the Motion to Dismiss/Stay are also

 misapplied and incorrect. To support its assertion that the Louisiana Federal Court is the



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 “more appropriate” forum in which to litigate this matter, Liberty Mutual resorts to case law

 interpreting the Colorado River abstention doctrine.1 As instructed by both the U.S. Supreme

 Court and the Fifth Circuit, the abstention doctrine considerations (i.e.., the “exceptional

 circumstances” test) are not applicable to a federal court’s consideration of whether it should

 exercise its discretionary jurisdiction under the Declaratory Judgment Act [28 U.S.C.

 § 2201].2

         In its brief, Liberty Mutual puts itself in the position of judge and jury, unilaterally

 declares that Louisiana law applies to a contract to which it is not a party and that specifically

 designates Texas law, and uses that purported conclusion to argue that this action should not

 be dismissed. This argument must be rejected. First of all, no determination has been made

 by this Court or any other as to which state’s law applies to the Master Service Contract.




        1
           In particular, Falcon Operators, Inc. v. PMP Wireline Services, Inc., 1997 WL 313417
 (E.D. La. 1997). and Oakville Community Action Group v. Industrial Pipe, 2002 WL 31260114
 (E.D. La. 2002).
        2
           See, e.g., Wilton v. Seven Falls Co., 515 U.S. 277, 115 S.Ct. 2137, 132 L.Ed.2d 214 (1995)
 (determining a district court's decision to stay declaratory judgment action during parallel state court
 proceedings is governed by the discretionary standard of Brillhart v. Excess Ins. Co., and not the
 “exceptional circumstances” test developed in Colorado River Water Conservation District v. United
 States and Moses H. Cone Memorial Hospital v. Mercury Constr. Corp.); St. Paul Ins. Co. v. Trejo,
 39 F.3d 585, 590 (5th Cir. 1994) (“[u]nder settled Fifth Circuit law, a declaratory judgment action
 may be dismissed even though it fails to satisfy the stringent Colorado River/Moses Cone
 “exceptional circumstances” test”); and Travelers Ins. Co. v. Louisiana Farm Bureau Federation,
 Inc., 996 F.2d 774, 780 n.12 (5th Cir. 1993) (“[t]his Court has made clear that the factors set out in
 Colorado River Water Conservation District v. United States, 424 U.S. 800, 96 S.Ct. 1236, 47
 L.Ed.2d 483 (1976), and Moses H. Cone Memorial Hospital v. Mercury Construction Corp., 460
 U.S. 1, 103 S.Ct. 927, 74 L.Ed.2d 765 (1983), are inapplicable in declaratory judgment actions,”
 citing to Granite State Ins. Co. v. Tandy Corp., 986 F.2d 94 (5th Cir.1992), cert. dismissed, 507 U.S.
 1026, 113 S.Ct. 1836, 123 L.Ed.2d 463 (1983)).

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 Second, the applicable law on a given issue is not one of the Trejo3 factors. Even assuming

 arguendo that Louisiana law applies, a Texas Court is clearly competent to do so. Finally,

 and most importantly, the choice of law issue can be decided in the context of the Third Party

 Demand presently pending in a competent Texas state court.

           Liberty Mutual also argues that the fact the parallel state court suit is not pending in

 Louisiana somehow weighs in favor of this court maintaining jurisdiction. In support of this,

 it cites to, and extensively quotes from, Falcon Operators, Inc. v. PMP Wireline Services,

 Inc., supra. Clearly, this case is inapposite as the Falcon Court was analyzing whether it

 should surrender its jurisdiction under the Colorado River abstention doctrine – not whether

 it should exercise its discretionary jurisdiction under 28 U.S.C. § 2201. Moreover, Brilhart4

 itself shows that the fact that the two suits are pending in different states is immaterial as that

 case involved a Kansas federal declaratory judgment action and a Missouri state court action.

 See also, e.g., RLI Ins. Co. v. Wainoco Oil & Gas Co., 131 Fed. Appx. 970 (5 th Cir. 2005)

 (Fifth Circuit affirms decision to stay Texas federal declaratory judgment action pending

 outcome in related California state court action); and Hercules Lifeboat Co., LLC v. Jones,

 2007 WL 4355045 (W.D. La. 2007) (Louisiana federal declaratory judgment action dismiss

 because of parallel Texas action). As shown by this case law, the fact that the parallel state

 court suit is pending in a different state is not determinative in a Trejo analysis.



           3
               St. Paul Ins. Co. v. Trejo, 39 F.3d 585 (5th Cir. 1994).
           4
               Brilhart v. Excess Ins. Co. of America, 316 U.S. 491, 62 S. Ct. 1173, 86 L. Ed. 1620
 (1942).

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        Liberty Mutual’s argument that the two cases are not “truly parallel” (R. Doc. 31, p.

 7) fares no better. The first Trejo factor, i.e., “whether there is a pending state action in

 which all of the matters in controversy may be fully litigated,” does not require identical

 parties. Rather, the parallel state suit must simply “present[] [an] opportunity for ventilation

 of the same state law issues.” Wilton v. Seven Falls Co., 515 U.S. 277, 290, 115 S.Ct. 2137,

 2144, 132 L.Ed.2d 214 (1995). This opportunity is presented in the Texas State Court suit

 because Leam has been made a third party defendant and Liberty Mutual is presenting it with

 a defense.

        Nothing stated in Liberty Mutual’s opposition memorandum detracts from application

 of the general rule that when, as here, only issues of state law are raised in the federal

 declaratory judgment action and a state court suit involving the same issues is pending, “the

 state court should decide the case and the federal court should exercise its discretion to

 dismiss the federal suit.” Sherwin-Williams v. Holmes County, 343 F.3d 383, 390-91 (5th

 Cir.2003). Because only state law issues are involved in this case, this is “precisely the type

 of case in which the federal court should defer in favor of the related state court action.”

 Rolls-Royce Naval Marine, Inc. v. A&B Indus. of Morgan City, Inc., 6:10-CV-00655, 2010

 WL 3947327, *2 (W.D. La. 9/15/10), report and recommendation adopted sub nom., 2010

 WL 3943553 (W.D. La. 10/6/10).




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         In addition to the federalism concerns weighing in movant’s favor, the Trejo factors

 dealing with fairness5 also weigh in favor of granting this motion. The arguments in Liberty

 Mutual’s brief based on its insistence that Louisiana law applies, without an appropriate

 choice of law analysis having been conducted, suggests “the existence of “possible inequities

 in allowing the declaratory plaintiff to ... change forums.” Sherwin-Williams Co., supra, 343

 F.3d at 399. Inequitable possibilities seem especially apparent because Liberty Mutual’s

 actions are not in accordance with the intent of its insured as set forth in the Master Service

 Contract.

         Relative to the Trejo efficiency concerns,6 Liberty Mutual argues that Louisiana is the

 most convenient forum based upon its assumption that Louisiana law should apply and by

 citing case law addressing the Colorado River abstention doctrine. Neither of these reasons

 warrant denial of this motion. Texas courts are certainly competent to apply Louisiana law

 (assuming arguendo it is found applicable after application of a conflicts of law analysis and

 consideration of the choice of law provision in the Master Service Contract). In contrast to

 Liberty Mutual’s arguments, efficiency concerns are best served by dismissal of the federal

 declaratory judgment action because it will “avoid duplicative or piecemeal litigation”


         5
           In particular, Trejo factors 2-4: Whether the plaintiff filed suit in anticipation of a lawsuit
 filed by the defendant; Whether plaintiff engaged in forum shopping in bringing the suit; and
 Whether there are possible inequities in allowing the declaratory plaintiff to gain precedence in time
 or to change forums.
        6
          In particular, Trejo factors 5 and 6: whether the federal court is a convenient forum for
 the parties and witnesses; and whether retaining the lawsuit in federal court would serve the
 purposes of judicial economy.


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 [Sherwin-Williams Co., supra, 343 F.3d at 391] because the same state law issues raised in

 this suit can be litigated in the pending state court suit.

        3.      Conclusion.

        This matter involves only state law issues concerning the interpretation of a contract.

 The parties to the contract do not oppose litigating the issue in the Texas state court, the

 forum selected by the parties in the contract. An analysis of the Trejo factors weigh in favor

 of dismissal or, alternatively, a stay of this federal declaratory judgment action because

 federalism concerns would be resolved by avoiding the possibility of inconsistent rulings,

 potential inequities would be eliminated by preventing the litigation of these issues in a

 forum not of the contracting parties choosing, and judicial efficiency would be served by

 precluding piecemeal litigation. For all of these reasons, Federal’s motion should be granted

 and the Court dismiss or stay this declaratory judgment action.

                                              RESPECTFULLY SUBMITTED,

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                            CERTIFICATE OF SERVICE

        I hereby certify that on the11th day of April, 2011, a copy of the foregoing was filed

 electronically with the Clerk of Court using the CM/ECF system. Notice of this filing will

 be sent to all counsel of record by operation of the court’s electronic filing system.



                                     s/ John P. Wolff, III
                                    JOHN P. WOLFF, III




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